              Case 4:06-cr-40019-JPG                         Document 415 Filed 02/02/07                 Page 1 of 6          Page ID
% A 0 2458    (Rev. 06105) Judgment in a Criminal Case                 #1159
              Sheet I




                       SOUTHERN                                      District of                                ILLINOIS

          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                              v.
                   MARY L. HOWARD
                                                                           Case Number:          4:06CR40019-015-JPG

                                                                           U S M Number:         06836-025



THE DEFENDANT:
dpleaded guilty to count(s)            1 of the Superseding Indictment.                                              FEB 0 2 2007
   pleaded nolo contendere to count(s)                                                                        CLERK, U.S. DISTRICT COURT
   which was accepted by the court.                                                                                  BENTON 0:-FICE
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Yature olOffense                                                          Offenw Ended               Count
                                 . ,                                                                                                      .,.   ,
 ~I'u.s.c:
         846                     . @'rispiracy to Makufacture, DiatrjbuW& Possess with Intent                 4/5/2006                    :Is


                                                   ,   ,
                                                       .;r                  ,   .


       The defendant is sentenced as provided in pages 2 through                    10     of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
(7 The defendant has been found not guilty on count(s)
   Count(s)                                                     is      are dismissed on the motion of the United States.

         It is ordered th3t the defendant must notiiy the Llnltcd States attorney for t h ~ d~strlct
                                                                                            s
ur malhngaddrcsr unulall tines, rcstitut~on,coats, and special assessments inlpused hy t h ~judgment
                                                                                                s
the defendant must notify the coun and Lnited Svates anonry of mterral changes 111 economlu clrcu1nstan;e~
                                                                                                                r
                                                                                                   br~thin30 da s of any change of name, residence,
                                                                                                          are fu ly pa~d it'ordered ro pay restltutlon.




                                                                            J. Phil Gilbert                              District Judge
                                                                           Name of Judge     2                         Title of Judge
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              Sheet 2 -Imprisonment
                                                                                                        Judgment - Page   2
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DEFENDANT: MARY L. HOWARD
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                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  87 months on Count 1 of the Superseding Indictment



      @ The court makes the following recommendations to the Bureau of Prisons:
  That the defendant be placed in the Intensive Drug Treatment Program.



           The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district:

                at                                      a.m.         p.m.     on
                as notified by the United States Marshal.

      @ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
           @ as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                            BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
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                                                                 #1161
A 0 2458      (Rev.06105)Judgment in a Criminal Case
              Sheet 3 S u p e r v i s e d Release


DEFENDANT: MARY L. HOWARD
                                                                                                           ludgment-Page
                                                                                                                           -
                                                                                                                           3       of         10

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                                                        SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

 5 years on Count 1 of the Superseding Indictment.



     The defendant must report to the probation office in the district to which the defendant is released w i h n 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
 I'hc dcfcndjnt shall nut unla\\,iull possess a controlled substance. 'Ihe defendant shall rcfra~nfrom any unla\\,hl usc of a conlrollcd
 substance i h e JelenJant shall w\nu; tu uns drug test \ u t h ~ nI5 days of release from imprisonment 2nd at l a s t t\ro pcr~odicdrug tests
 thereafter, as determined by the court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
 @ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @ The defendant shall cooperate in the collection of DNA as directed by the probation ofticer. (Check, if applicable.)
         Tne defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~a~rnents sheet of thls judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a huthful and complete written report within the first five days of
           each month,
   3)      the defendant shall answer imthfully all inquiries by the probation officer and follow the inshuctions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, djstribute, or administer any
           controlled substance or any paraphemalla related to any controlled substances, except as prescrtbed by a physician;
   8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted pemsslon to do so by the profation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall pemit confiscation of any
           contraband observed m platn vtew of the probatton officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           pemssion of the court; and
  1.7)     as dlrcctcd by the rubdtion officer, the deiendant shall notify third p3n1esufr~sksthat may be o:cas~oned by the dckndant's cnni~nal
           record or persona!  his& or character~st~cs    3nd rhall pcmut the probation ofticer tu nuke s u ~ h11ot1fic311onb
           defendant 3 cunipl~ance\\ ~ t hsuch nut~licat~onrequirement.
                                                                                                                             dnd to conrirni thc
A 0 2458    Case
           (Rev.     4:06-cr-40019-JPG
                 06105) Judgment in a Criminal Case   Document 415 Filed 02/02/07        Page 4 of 6         Page ID
           Sheet 3C -  Supervised Release                       #1162
                                                                                             Judgment-Page    4    of       10
DEFENDANT: MARY L. HOWARD
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.
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                         Judgment in a Criminal Case      Document 415 Filed 02/02/07                         Page 5 of 6       Page ID
           Sheet 5 C r i m i n a l Monetary Penalties               #1163
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                                                                                                          Judement-Paee -   -
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                                                                                                                                              4 n
                                                                                                                                               4"
 DEFENDANT: MARY L. HOWARD
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                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                              -
                                                                               Fine                               Restitution
 TOTALS            $ 100.00                                                  $ 200.00                           $ 0.00



     The determination of restitution is deferred until -. An Amended Judgment in a Criminal Case(A0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below

     If the defendant makes a partla1 payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise /n
     the pnonty order or percentage payment colnmn%elow. However, pursuant to 18
     before the United States is pald.
                                                                                                  Lk.8.
                                                                                              5 366481, all nonfederal victims must he pald

 Kame u l Pasee                                                                                    Restitution Ordered      Priority or Percentace

                                                 .".,.,
                                                                         .     .




TOTALS                                $                          0.00              $                     0.00


      Restihltion amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

@f The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           the interest requirement is waived for the           @ fme              restitution.
           the interest requirement for the               fme           restitution is modified as follows:


* Findings for the total amount of losses are re uired under Chapters 109A, 110,11OA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 199%.
A 0 24.58
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             Sheet 6 S c h e d u l e of Payments                  #1164
                                                                                                        J u d g m e n t Page    6   of        10
 DEFENDANT: MARY L. HOWARD
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                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A      @ Lump sum payment of $                               due immediately, balance due

                   not later than                                  , Or
                   in accordance           [7 C,         D,   [7    E, or   [7 F below; or

 B          Payment to begin immediately (may be combined with              C,          D, or       F below); or
 C           Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D      [7 Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E          Payment during the tern of supewised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     $i   Special instructions regarding the payment of criminal monetary penalties:
             While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
             of her net monthly income, whichever is greater, toward her fine.




 Unless the court bas express1 ordered otherwise, if this judgment imposes i m p r i s o n m e n t , ~of~ criminal
                                                                                                          t        monetaly penalties is due durin
 ~tnprisoqmt. All crminaymoneta penalt~es,except those payments made throug                    e Federal Bureau of Prisons' Inmate ~ m a n c l j
 Respons~b~lity Program, are made to #e clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



        Joint and Several

        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
        and corresponding payee, if appropriate.




 [7    The defendant shall pay the cost of prosecution.

       The defendant shall pay the following court cost(s):

       The defendant shall forfeit the defendant's interest in the following property to the United States:




                                                         1.
Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena aes, and (8) costs, including cost of prosecution and court costs.
